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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                          CASE NO: 2:14-cr-135-FtM-38CM

JEROME ANTONIO VAUGHN


                                                ORDER1

        This matter comes before the Court on Defendant Jerome Antonio Vaughn’s

Objection (Doc. #68) filed on April 22, 2015. The Government failed to file a response,

and the time to do so has now expired. The Motion is ripe for review.

                                              Discussion

        On December 3, 2014, a grand jury charged Defendant with a single count of

“knowingly and willfully combin[ing], conspir[ing], confederat[ing], and agree[ing]” with

other persons to possess and distribute (1) five or more kilograms of cocaine; (2) 28 or

more grams of “crack cocaine”; and (3) marijuana. (Doc. #1 at 1-2). Believing that the

Indictment and the discovery provided were “not [] sufficient to inform [him] of the

conspiracy charge against him with sufficient precision to allow him to prepare his

defense,” Defendant filed a Motion for Bill of Particulars. (Doc. #55). In the Motion,

Defendant sought substantial factual detail related to his conspiracy charge, including




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particular dates, names, statements, and acts. (Doc. #55 at 3-4). Thereafter, United

States Magistrate Judge Carol Mirando issued an Order denying Defendant’s Motion.

(Doc. #64). In doing so, Judge Mirando held that “the indictment [was] sufficient to put

Defendant on notice of the charges against him, to enable him to prepare a defense[,]

and [to] minimize surprise at trial.” (Doc. #64 at 7). Now, Defendant files the instant

Objection, asking the Court to reconsider Judge Mirando’s Order.

        In reviewing a magistrate judge’s ruling on a non-dispositive matter, the Court

must affirm the ruling “unless ‘it has been shown that the [ruling] is clearly erroneous or

contrary to law.” United States v. Williams, Case No. 6:13-cr-26-Orl-36TBS, 2014 WL

117091, at *6 (M.D. Fla. Jan. 13, 2014) (citing 28 U.S.C. § 636(b)(1)(A); Fed. R. Crim. P.

59(a)). Defendant avers that Judge Mirando erred by failing to require the Government

to provide particulars as to (1) “the date of the earliest statement and/or event upon which

the Government will rely upon to prove the formulation and existence of the conspiracy,

and every statement and/or event as to when [] Defendant joined the conspiracy, as well

as his co-conspirators”; (2) “the nature of any and all statement and/or events upon which

the Government will rely upon to prove that the conspiracy existed for those eight years

alleged”; and (3) the “circumstances surrounding any action or statement of the

Defendant in furtherance of the conspiracy, including locations, dates[,] and unindicted

coconspirators present.” (Doc. #68 at 3-4). The Court disagrees.

       Federal Rule of Criminal Procedure 7(f) allows a court, in its discretion, to direct

the government to file a bill of particulars. A bill of particulars “inform[s] the defendant of

the charge against him with sufficient precision to allow him to prepare his defense, to

minimize surprise at trial, and to enable him to plead double jeopardy in the event of a




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later prosecution for the same offense.” United States v. Warren, 772 F.2d 827, 837 (11th

Cir. 1985) (citation omitted). It is not a tool to gain generalized discovery. Id. Nor may

it “be used to compel the government to provide the essential facts regarding the

existence and formulation of a conspiracy” or require the government to identify “all overt

acts that may be proven at trial.” United States v. Rosenthal, 793 F.2d 1214, 1227 (11th

Cir. 1986) (citations omitted).

       A review of Judge Mirando’s Order reveals that it is not clearly erroneous or

contrary to law. In fact, the Order illustrates that not a single concern warranting a bill of

particulars is present. To begin, the Indictment “identifies the time and place for the

alleged conspiracy” and “the unlawful acts [that] were committed.” (Doc. #64 at 5). And,

because the charged conspiracy relates to narcotics, “[t]he [c]onspiracy count [also]

identifies the particular substances and quantities at issue.”       (Doc. #64 at 5).     Not to

mention, “[t]he remaining substantive counts allege a specific time and place for the

individual acts and identify by which [D]efendant(s) they are alleged to have been

committed.” (Doc. #64 at 5). In addition, “[t]he Government represent[ed] that it []

provided discovery materials [to Defendant] that contain additional information as to

Defendant’s alleged role in the conspiracy, including law enforcement reports, copies or

photos of physical evidence, and search warrant affidavits.” (Doc. #64 at 6 (citing Doc.

#57 at 7)).

       In the Court’s view, these disclosures, cumulatively, allow Defendant to prepare

his defense, to be aware of the facts surrounding his case so that they are not a surprise

at trial, and, if warranted, to plead double jeopardy. This, in and of itself, illustrates that a

bill of particulars is unnecessary. See United States v. Martell, 906 F.2d 555, 558 (11th




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Cir. 1990) (“[A] defendant is not entitled to a bill of particulars with respect to information

which is already available through other sources.”).         Indeed, Defendant may want

additional details beyond those provided in the indictment or through discovery. But a bill

of particulars is not a tool that allows defendants to obtain every fact that the government

may possess regarding a conspiracy. See Rosenthal, 793 F.2d at 1227. Therefore,

without any substantive objections illustrating that Judge Mirando’s Order was clearly

erroneous or contrary to law, the Order must be affirmed and Defendant’s Objection must

be overruled. See Williams, 2014 WL 117091, at *7 (affirming magistrate judge’s denial

of request for bill of particulars where the denial was not clearly erroneous or contrary to

law).

        Accordingly, it is now

        ORDERED:

        United States Magistrate Judge Carol Mirando’s April 15, 2015 Order (Doc. #64)

is AFFIRMED and Defendant’s Objection (Doc. #68) is OVERRULED.

        DONE AND ORDERED at Fort Myers, Florida, this May 6, 2015.




Copies: Counsel of Record




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